     Case 3:24-cv-07704-JD         Document 17-2      Filed 02/03/25   Page 1 of 3




 1   Philip M. Black (SBN 308619)
 2   Matthew Insley-Pruitt (Pro Hac Vice application forthcoming)
     Justyn Millamena (Pro Hac Vice application forthcoming)
 3   WOLF POPPER LLP
     845 Third Avenue
 4   New York, NY 10022
     Telephone: (212) 759-4600
 5
     Email: pblack@wolfpopper.com
 6          minsley-pruitt@wolfpopper.com
            jmillamena@wolfpopper.com
 7
     Attorneys for Plaintiff Movant Noah Hermann
 8   and the Putative Class
     (additional counsel on signature page)
 9

10                              UNITED STATES DISTRICT COURT

11                           NORTHERN DISTRICT OF CALIFORNIA
12                                      SAN FRANCISCO DIVISION
13

14    NOAH HERMANN, individually and on behalf        No.: 3:24-cv-7704-JD
      of all others similarly situated,
15                                                    CLASS ACTION
                           Plaintiff,
16                                                    DECLARATION OF PHILIP M. BLACK
                           v.                         IN SUPPORT OF PLAINTIFF’S
17
                                                      MOTION TO ENLARGE TIME FOR
18    BRIAN VELUZ-NEPOMUCENO,                         PLAINTIFF TO SERVE SUMMONS
      PERCIVAL ONG, MIDNIGHT HUB, AND                 AND COMPLAINT
19    ROOMS.TV,
20                         Defendants.                Dept.: Courtroom 11, 19th Floor (San
                                                             Francisco)
21
                                                      Judge: Hon. James Donato
22

23

24

25

26

27

28
     [No.: 3:24-cv-7704-JD] DECLARATION OF PHILIP M. BLACK IN SUPPORT OF PLAINTIFF’S MOTION TO
     ENLARGE TIME FOR PLAINTIFF TO SERVE SUMMONS AND COMPLAINT
     Case 3:24-cv-07704-JD            Document 17-2        Filed 02/03/25     Page 2 of 3




 1             I, Philip M. Black, declare, pursuant to 28 U.S.C. § 1746, as follows:

 2             1.     I am an attorney duly licensed to practice in the State of California and before this

 3   Court. I am a partner of Wolf Popper LLP, attorneys for Plaintiff Noah Hermann (“Plaintiff”). I

 4   make this declaration in support of Plaintiff’s Motion to Enlarge Time to Serve Summons and

 5   Complaint on Defendants, filed concurrently herewith.

 6             2.     Except for citations to the record, I make this declaration upon my information and

 7   belief, based on information I have received through attorneys in my office, who in turn received

 8   the information from the process server.

 9             3.     Plaintiff filed this action on November 5, 2024 against four Defendants. ECF No. 1.

10   The Court issued a summons as to all Defendants on November 7, 2024. ECF No. 5. That summons

11   listed all four Defendants at the same address, 1031 Cherry Avenue, Unit 44 San Bruno, CA 94066.

12   See Id.

13             4.     On November 19, 2024, at 8:44 PM EST, service was made of the summonses upon

14   the father-in-law of Defendant Brian Veluz-Nepomuceno. Attached hereto as Exhibit 1 is a true

15   and correct copy of the Proof of Service dated December 5, 2024.

16             5.      On December 23, 2024, the Court issued corrected summonses for all Defendants

17   with updated addresses for Defendants Ong and Midnight Hub (1130 Starbird Cir. #15, San Bruno,

18   CA 95117). ECF No. 14.

19             6.     Subsequent attempts to serve Defendants Midnight Hub and Percival Ong have been

20   impeded by significant obstacles. The addresses associated with these Defendants are located

21   within gated communities, presenting physical barriers to lawful access. At 1130 Starbird Circle

22   #15, San Jose, CA 95117, the process server was compelled to employ the method of “tailgating”

23   to gain entry to the premises. Upon reaching the specified unit, the occupant refused to open the

24   door, denied any knowledge of Midnight Hub, and disclaimed association with the Defendants.

25             7.     Further efforts to confirm service at 1031 Cherry Avenue Unit 44, San Bruno, CA

26   94066 were similarly obstructed. The process server was unable to gain entry to this gated

27   community, despite this location being the site of the aforementioned service upon Brian Veluz-

28   Nepomuceno’s father-in-law.
     [No.: 3:24-cv-7704-JD] DECLARATION OF PHILIP M. BLACK IN SUPPORT OF PLAINTIFF’S MOTION TO
     ENLARGE TIME FOR PLAINTIFF TO SERVE SUMMONS AND COMPLAINT                               1
     Case 3:24-cv-07704-JD         Document 17-2       Filed 02/03/25      Page 3 of 3




 1          8.     In response to these challenges, Plaintiff is actively pursuing alternative service

 2   methods. These include potential service through the Secretary of State and attempts to ascertain

 3   any changes of address. However, these efforts are complicated by information indicating that the

 4   corporate Defendants were dissolved in October 2024. See ECF No. 1 ¶ 98.

 5          I declare under penalty of perjury that the foregoing is true and correct to the best of my

 6   knowledge, information, and belief.

 7          Executed this 3rd day of February, 2025, at Brooklyn, New York.

 8
                                                        /s/ Philip M. Black
 9                                                       Philip M. Black
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     [No.: 3:24-cv-7704-JD] DECLARATION OF PHILIP M. BLACK IN SUPPORT OF PLAINTIFF’S MOTION TO
     ENLARGE TIME FOR PLAINTIFF TO SERVE SUMMONS AND COMPLAINT                               2
